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 8                            UNITED STATES DISTRICT COURT

 9               CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION

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11    MAYRA A.E.QUEZADA,                            Case No. CV 20-5553-PA(AS)

12                       Plaintiff,                 ORDER ACCEPTING FINDINGS,
13          v.                                      CONCLUSIONS, AND
14    KILOLO KIJAKAZI, Acting                       RECOMMENDATIONS OF UNITED
      Commissioner of Social
15    Security,                                     STATES MAGISTRATE JUDGE
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                         Defendant.
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           Pursuant to 28 U.S.C. § 636, the Court has reviewed the
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     Complaint, all the records herein, and the attached Report and
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     Recommendation      of    United      States    Magistrate   Judge     to    which    no
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     objections were filed. Accordingly, the Court concurs with and
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     accepts the findings and conclusions of the Magistrate Judge.
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           IT    IS    ORDERED      that   (1)   Plaintiff’s      motion    for    summary
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     judgment is DENIED; (2) Defendant’s motion for summary judgment
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     is GRANTED; and          (3)   Judgment     shall   be   entered      affirming      the
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     decision     of   the    Commissioner and dismissing this action with
28
     prejudice.
Case 2:20-cv-05553-PA-AS Document 27 Filed 10/27/21 Page 2 of 2 Page ID #:587



 1         IT IS FURTHER ORDERED that the Clerk serve copies of this

 2   Order, the Magistrate Judge’s Report and Recommendation and the

 3   Judgment on counsel for Plaintiff and the United States Attorney

 4   for the Central District of California.

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 6         LET JUDGMENT BE ENTERED ACCORDINGLY.

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     DATED: October 27, 2021
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                                               ___________    __________ ___
10                                                    PERCY ANDERSON
                                                UNITED STATES DISTRICT JUDGE
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